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           Transgender Service in the U.S. Military
                   An Implementation Handbook




                           September 30, 2016




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                        Transgender Service
                         in the US Military:
                                 An Implementation Handbook

       Our mission is to defend this country, and we don’t want barriers
       unrelated to a person’s qualification to serve preventing us from
       recruiting or retaining the Soldier, Sailor, Airman, or Marine
       who can best accomplish the mission. We have to have access
       to 100 percent of America’s population for our all-volunteer
       force to be able to recruit from among them the most highly
       qualified­—and to retain them…Starting today: Otherwise
       qualified Service members can no longer be involuntarily
       separated, discharged, or denied reenlistment or continuation
       of service just for being transgender.
                                          —Statement by Secretary of Defense Ash Carter 1




       1   U.S. Secretary of Defense Ash Carter, “Secretary of Defense Ash Carter Remarks Announcing
           Transgender Policy Changes,” June 30, 2016.




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       Background

       The handbook is designed to assist our transgender Service members in their
       gender transition, help commanders with their duties and responsibilities, and
       help all Service members understand new policies enabling the open service
       of transgender Service members. The handbook includes advice, questions and
       answers, and scenarios.

       This handbook outlines some of the issues faced by commanders, transgender
       Service members, and the Military Services; it does not have all of the solutions
       – individual circumstances will vary. It is an administrative management
       tool, and is not a health management tool or policy document. Additional
       key parts of this handbook include: Annex A, which contains questions and
       answers to help with understanding specific terms and words; Annex B, which
       provides step-by-step details of the gender transition process; Annex C, which
       highlights situation-based scenarios that may be useful for training situations;
       and Annex D, which provides links to additional resources. For specific policies
       refer to Department of Defense Instruction (DoDI) 1300.28,2 Directive-
       type Memorandum (DTM) 16-005,3 Service policies, and/or Service Central
       Coordination Cells (SCCC).4




       2   DoD Instruction (DoDI) 1300.28, “In-Service Transition for Service Members Identifying as
           Transgender,” June 30, 2016.

       3   Directive-type Memorandum (DTM), 16-005, “Military Service of Transgender Service
           Members,” June 30, 2016.

       4   See Annex D for SCCC contact information.




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      Introduction

      Sex and gender are different. Sex is whether a person is male or female through
      their biology. Gender is the socially defined roles and characteristics of being
      male and female associated with that sex. There are a number of people for
      whom these associations do not match. This feeling may arise in childhood,
      adolescence or adulthood and may result in gender dysphoria. Sometimes
      people’s gender identity does not match their sex at birth.

      Gender dysphoria is a medical diagnosis that refers to distress that some
      transgender individuals experience due to a mismatch between their gender and
      their sex assigned at birth. The condition can manifest in a person as strong and
      persistent cross-gender identification and a discomfort with their biological
      sex, or a sense of inappropriateness in the gender role of that sex. Transgender
      Service members may face challenges centered on their own personal situation
      and/or others’ unfamiliarity with gender identity issues.




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      Policy

      In July 2015, the Secretary of Defense directed the Department of Defense to
      identify the practical issues related to transgender Americans serving openly in
      the military and to develop an implementation plan that addresses those issues
      consistent with military readiness. On June 30, 2016, the Secretary announced a
      new policy5 allowing open service of transgender Service members and outlined
      three reasons6 for this policy change:

      ■■   The Army, Navy, Air Force, Marine Corps, and Coast Guard need to avail
           themselves of all available talent in order to remain the finest fighting force
           the world has ever known. The mission to defend this country requires that
           the Services do not have barriers unrelated to a person’s qualification to
           serve or preventing the Department of Defense (DoD) from recruiting or
           retaining Service members.

      ■■   There are transgender Service members in uniform today. DoD has a
           responsibility to them and their commanders to provide clearer and more
           consistent guidance.

      ■■   Individuals who want to serve and can meet the Department’s standards
           should be afforded the opportunity to compete to do so.

      This handbook will explain the framework by which transgender Service
      members may transition gender while serving.




      5    DoDI 1300.28 and DTM 16-005.

      6    U.S. Secretary of Defense Ash Carter Remarks, June 30, 2016.




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      Terms and Definitions

      The following terms are associated with open service by transgender individuals.
      The list is not all-inclusive. The definitions are consistent with those in the
      new policy.

      Cross-sex hormone therapy. The use of feminizing hormones in an individual
      assigned male at birth based on traditional biological indicators or the use of
      masculinizing hormones in an individual assigned female at birth. A common
      medical treatment associated with gender transition.

      Gender dysphoria. A medical diagnosis that refers to distress that some
      transgender individuals experience due to a mismatch between their gender and
      their sex assigned at birth.

      Gender identity. One’s internal or personal sense of being male or female.

      Gender marker. Data element in the Defense Enrollment Eligibility Reporting
      System (DEERS) that identifies a Service member’s gender. A Service member
      must meet all military standards associated with the member’s gender marker in
      DEERS and use military berthing, bathroom, and shower facilities in accordance
      with the DEERS gender marker.7

      Gender transition is complete. A Service member has completed the medical
      care identified or approved by a military medical provider in a documented
      medical treatment plan as necessary to achieve stability in the preferred gender.

      Gender transition process. Gender transition in the military begins when a
      Service member receives a diagnosis from a military medical provider indicating
      that the member’s gender transition is medically necessary, and concludes when
      the Service member’s gender marker in DEERS is changed and the member is
      recognized in the preferred gender.

      Human and functional support network. Support network for a Service member
      that may be informal (e.g., friends, family, co-workers, social media.) or formal
      (e.g., medical professionals, counselors, clergy).


      7   While the gender marker change is reflected in DEERS, the Services’ personnel data systems are
          the means to input gender; as such, the remainder of this handbook refers to ‘Services’ personnel
          data systems’.




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      Medically necessary. Those health care services or supplies necessary to prevent,
      diagnose, or treat an illness, injury, condition, disease, or its symptoms and that
      meet accepted standards of medical care.

      Non-urgent medical care. The care required to diagnose and treat problems that
      are not life or limb threatening or that do not require immediate attention.

      Preferred gender. The gender of a transgender Service member when gender
      transition is complete and the gender marker in DEERS is changed.

      Real life experience (RLE). The phase in the gender transition process when
      the individual commences living socially in the gender role consistent with their
      preferred gender. RLE may or may not be preceded by the commencement
      of cross-sex hormone therapy, depending on the individual gender transition
      medical treatment plan. The RLE phase is also a necessary precursor to certain
      medical procedures, including gender transition surgery. RLE generally
      encompasses dressing in the new gender, as well as using preferred gender
      berthing, bathroom, and shower facilities.8

      Service Central Coordination Cell (SCCC). Service-level cell of experts
      created to provide multi-disciplinary (e.g., medical, legal) advice and assistance
      to commanders with regard to service by transgender Service members and
      gender transition in the military.9

      Stable in the preferred gender. Medical care identified or approved by a
      military medical provider in a documented medical treatment plan is complete,
      no functional limitations or complications persist, and the individual is not
      experiencing clinically significant distress or impairment in social, occupational,
      or other important areas of functioning. Continuing medical care, including but
      not limited to cross-sex hormone therapy, may be required to maintain a state
      of stability.

      Transgender Service member. A Service member who has received a medical
      diagnosis indicating that gender transition is medically necessary, including any
      Service member who intends to begin transition, is undergoing transition, or
      has completed transition and is stable in the preferred gender.


      8   RLE intended to occur off duty; however, exceptions to policy may be granted. Consult Service
          policy for specifics.

      9   A complete listing with SCCC contact information can be found at Annex D.




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      The Basics

      Sex and gender are different. Sex is the assignment made at birth as male
      or female, based on anatomy. Gender identity is an individual’s internal sense
      of being male or female. Gender role or expression is the socially defined roles
      and characteristics of being male and female associated with that sex. For most
      people, gender identity and expression are consistent with their sex assigned at
      birth. However, in transgender individuals, gender identity and/or expression
      differs from their sex assigned at birth.

      Gender dysphoria is a medical diagnosis that refers to distress that some
      transgender individuals experience due to a mismatch between their gender
      and their sex assigned at birth.

      Broadly, the term “transgender person” refers to individuals whose internal
      sense of being male or female (gender identity) is different from the sex they
      were assigned at birth. Some transgender individuals feel compelled to align
      their external appearance with their gender identity and undergo transition to
      the preferred gender. Gender transition care is individualized and can include
      psychotherapy, hormone therapy, RLE, and sex reassignment surgery.

      Traditionally, society has had little understanding of what it means to transition
      gender. Many transitioning people have been subjected to hostility, ridicule,
      and discrimination. Every person has the right to have their gender identity
      recognized and respected, and all Service members who receive a diagnosis
      that gender transition is medically necessary will be provided with support and
      management to transition, within the bounds of military readiness.

      Gender transition is the process a person goes through to live fully in their
      preferred gender. Gender transition in the military may present challenges
      associated with addressing the needs of the Service member while preserving
      military readiness. The oversight and management of the gender transition
      process is a team effort with the commander, the Service member, and the
      military medical provider (MMP). DoD values the contributions of all Service
      members and tries to ensure all are as medically ready as possible throughout
      their service. Individual readiness is a key to Total Force readiness.




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      Gender Transition Approval Process Overview
      Gender transition is highly individualized. Figure 1 outlines the main
      components. Generally, the gender transition process includes:

      ■■   Diagnosis and medical treatment plan received from or validated by
           an MMP;

      ■■   Gender transition (initiate medical treatment plan, complete medical
           treatment plan, Service member requesting gender marker change); and

      ■■   Compliance with gender standards post-gender marker change.

      The process depicted is only a framework and Service members may progress
      on varying timelines. The commander, informed by the recommendations of
      the MMP, the SCCC, and others, as appropriate, will respond to the request to
      transition gender while ensuring readiness by minimizing impacts to the mission
      (including deployment, operations, training, exercise schedules, and critical skills
      availability), as well as to the morale and welfare and good order and discipline
      of the command.

      Within this framework, the commander plays a key role in making
      recommendations and taking action on:

      ■■   The timing of medical treatment associated with gender transition;

      ■■   Timing of RLE (e.g., non-duty hours, duty hours with an exception to
           policy (ETP))

      ■■   Requested ETPs associated with gender transition; and

      ■■   A change to the Service member’s gender marker in their Service’s
           personnel data system.




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                        Figure 1: Gender Transition Process




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      For the Transgender Service Member

      “…the reality is that we have transgender Service members
      serving in uniform today, and I have a responsibility to them
      and their commanders to provide them both with clearer and
      more consistent guidance than is provided by current policies.”
                                         —Statement by Secretary of Defense Ash Carter10


      DoD’s revised transgender Service member policy ensures your medical care
      is brought into the military health system (MHS), protects your privacy when
      receiving medical care, and establishes a structured process whereby you may
      transition gender when medically necessary.

      In-Service Transition
      Gender transition in the military begins when you receive a diagnosis from an
      MMP indicating that gender transition is medically necessary and concludes
      when you change your gender marker in your Service’s personnel data system.
      Your commander is a critical part of your transition and much of this section
      will highlight his/her role. The table below outlines responsibilities for both
      Active and Reserve Component Service members requesting in-service
      transition. To make a request, you must:




      10 U.S. Secretary of Defense Ash Carter Remarks, June 30, 2016.




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         Active Component & Reserve Component                           Reserve Component
          Uniformed Full-Time Support Personnel                            (All Others)
        1. Secure a medical diagnosis and a medical         1. Secure a medical diagnosis and a medical
           treatment plan from your MMP. If the                treatment plan from your non-MMP.
           diagnosis and treatment plan are from a
           non-military medical provider (non-
           MMP), you are required to notify your
           MMP at the earliest practical opportunity
           to bring your care into the MHS. Your
           MMP will review, and if appropriate
           validate the non-MMP’s diagnosis and
           treatment plan.
        2. Notify your commander of the diagnosis           2. Notify your commander of the diagnosis
           and medical treatment plan indicating               and medical treatment plan, indicating
           that gender transition is medically                 that gender transition is medically
           necessary. Work with your commander                 necessary. Work with your commander to
           and your MMP to develop a transition                have an MMP validate the non-MMP’s
           plan that includes a timeline for treatment         diagnosis and treatment plan and develop
           and an estimated date for a change of               a transition plan that includes a timeline
           your gender marker in your Service’s                for treatment and an estimated date for
           personnel data system.                              a change of your gender marker in your
                                                               Service’s personnel data system.

        3. Notify your commander of any changes             3. Same as AC.
           to the medical treatment plan, the
           projected schedule for such treatment,
           any exceptions to policy (ETP) you may
           request, and the estimated date on which
           your gender marker would be changed in
           your Service’s personnel
           data system.
        4. Obtain one of the following to change            4. Same as AC.
           your gender marker in your Service’s
           personnel data system:
        ■■   A certified true copy of a state birth
             certificate reflecting your preferred
             gender; or
        ■■   A certified true copy of a court order
             reflecting your preferred gender; or
        ■■   A U.S. Passport reflecting
             your preferred gender.




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          Active Component & Reserve Component                           Reserve Component
           Uniformed Full-Time Support Personnel                            (All Others)
         5. Obtain your MMP’s confirmation                   5. Obtain a non-MMP confirmation
            that gender transition is complete.11               that your gender transition is complete,
                                                                then validate with an MMP (in concert
                                                                with commander).


         6. Obtain written approval from your                6. Same as AC.
            commander to change your gender marker
            in your service’s personnel data system.
         7. Submit paperwork to your personnel               7. Same as AC.
            administrative office once you have all
            the required documentation and your
            commander’s written approval to obtain
            your gender marker change.
         8. Meet all applicable military standards           8. Same as AC.
            in your preferred gender (to include
            using military berthing, bathroom, and
            shower facilities), when your gender
            marker is changed in your Service’s
            personnel data system.

         9. Adhere to the ongoing medical                    9. Adhere to the ongoing medical
            treatment plan developed by your                    treatment plan developed by your
            MMP to address continuing medical                   non-MMP to address continuing
            needs, including follow-up visits related           medical needs, including follow-up
                                                                visits related to continuous hormone
            to continuous hormone treatment and
                                                                treatment and routine health screening.
            routine health screening.12




      11		In DoDI 1300.28, gender transition is complete when a Service member has completed the
          medical care identified or approved by a military medical provider in a documented medical
          treatment plan as necessary to achieve stability in the preferred gender.

      12		The MMP (or non-MMP, if you are not on active duty) may determine certain aspects of your
          medical care and treatment to be medically necessary, even after your gender marker is changed
          in your Service’s personnel data system (e.g., cross-sex hormone therapy). A gender marker
          change does not prohibit you from receiving further care and treatment.




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      Communication
      It is vital that you are open and honest with your leadership when discussing
      the gender transition process. This will enable you to convey your needs as well
      as address any questions or concerns from your leadership.

      Communication with colleagues is equally important as they may not be
      familiar or comfortable with gender transition. It is important to remember
      that while you have had many months, probably years, to understand your need
      to transition, this may be the first time your colleagues have encountered gender
      transition. They may have difficulty understanding the reasons and the process.

      There are many ways to respectfully disclose your gender identity to your
      colleagues. How and when you wish to tell your coworkers is something you will
      need to discuss with your commander and/or your MMP. It is important to state
      what information you are open to discussing and what information you wish to
      remain private. Communication strategies could include:

      ■■   Ask your leadership to convene a unit meeting and make an announcement
           on your behalf. Have health professionals and/or chaplains available to
           answer questions;

      ■■   Share a letter from you with your unit;

      ■■   Distribute a letter or notification via email; and/or

      ■■   Make the announcement in person at a unit meeting.

      Finding a Mentor
      Similar to seeking a mentor to assist and guide in career/professional
      development, it may be advisable to seek a mentor to assist you in your
      transition. A mentor should be someone familiar with the process you are
      undertaking. If possible, choose someone from your peer group or military
      pay grade. If you cannot find your own potential mentor(s), consider seeking
      recommendations from your commander, a chaplain, or medical professional.
      Below are some areas where a mentor may be beneficial:

      ■■   Providing advice on military issues related to the correct wear of your
           preferred gender uniform and related grooming issues;

      ■■   Being a supportive sounding board;




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      ■■   Providing frank and honest advice; and

      ■■   Being a unit point of contact, or conduit, for questions from the workplace
           related to gender transition.

      Considerations
      Below are some career considerations that you may wish to take into account.

      Period of Adjustment
      Early on in your transition you may need to consider that adjusting your
      appearance and grooming can take some time. During this period of transition,
      it may be appropriate to discuss periods of authorized absence with your
      commander and the MMP.

      For most of your transition, you should not need to use convalescent leave;
      however, you may require some time to recover from certain medical or surgical
      treatments. Accordingly, when convalescent leave is recommended, ensure
      you have coordinated with your unit leadership, administrative personnel, and
      medical personnel.

      Impact Transitioning May Have on Your Career
      Transitioning gender may have an impact on several different aspects of your
      career including deployability, assignment considerations, medical classification,
      and aspects of individual readiness (e.g., physical fitness, body composition
      assessment, and professional military education attendance). Since the impact to
      your career could be significant, it is strongly recommended you discuss this with
      your commander and/or mentor.

      Assignments
      You may need to discuss with your MMP and commander whether you want
      to transition while in your current unit or upon arrival at a new unit. There are
      advantages and disadvantages to both. The latter has the advantage of leaving
      your old life at your last duty station and arriving at your next assignment ready
      to start your new life. However, the disadvantage is that you will have to re-
      establish your support network in the new location.

      Completing transition within a normal Permanent Change of Station cycle
      of 3-4 years is possible, but may or may not be desirable depending on your
      circumstances. Below are some issues to consider:




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      ■■   Specialized medical care may not be available at all duty locations.
           Assignments near installations with such care may need to be considered;
      ■■   Moving locations means potentially moving away from a stable
           environment, including medical specialists and social support. However,
           making a fresh start may be easier for some transitioning members;

      ■■   Your duty locations may impact decisions about when to commence RLE
           in your preferred gender; and

      ■■   Not all duty assignments will be able to support a gender transition.

      Individual Medical Readiness (IMR)
      Medical care for gender transition is managed in the same way as other medical
      conditions. You may be non-deployable for some periods during your gender
      transition process. It is your responsibility to inform your leadership regarding
      your medical condition when, as a result of any medical treatment, you will be
      or have become non-deployable.13

      Physical Readiness Testing (PRT)
      PRT is a fundamental requirement of your military service. You are required
      to meet the PRT standards based upon your gender marker in your Service’s
      personnel data system and in accordance with Service regulations. Similar
      to other circumstances where Service members may not meet standards, it is
      important that you consult regularly with your MMP to ensure you can meet
      standards (i.e., fitness). If you are unable to meet the standards, it may be
      necessary to request an ETP.

      Privacy
      Maintaining dignity and respect for all is important. You will need to consider
      both your own privacy needs and the privacy needs of others. This includes, but
      is not limited to, maintaining personal privacy in locker rooms, showers, and
      living quarters. One strategy might include adjusting personal hygiene hours.
      If you have concerns, you are encouraged to discuss them with your chain
      of command.

      Military Records
      Your records prior to transition (e.g., awards, performance evaluations) are
      historical and will not be changed after completion of your gender transition.
      13 DoDI 6025.19, “Individual Medical Readiness (IMR),” June 9, 2014.




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      Your Service has a board process that may consider changes to historical military
      records.14 All records generated after your Service’s personnel data system gender
      marker is changed will reflect your preferred gender.

      Expectation Management
      The military developed a process to allow you to transition gender while you
      serve. Keep the lines of communication open and be patient with the process.
      Your timeline may need to be flexible due to operational requirements.

      Tips for Transitioning Service Members
      The following tips have been provided by Service members from an allied
      foreign military who have transitioned gender.15

      ■■   Honesty. “If you wish to be respected you must also give that same respect
           to your coworkers up and down the chain. How you treat others and inform
           others will be directly related to the way you are treated. It is incredibly
           hard to open up and trust people with a personal secret you have probably
           carried for your entire adult life; however from my experiences if you keep
           an open-door philosophy and answer honest questions with polite and clear
           non-emotional detail, most will accept and understand.”

      ■■   Be professional. “The hormones you may [take] to change will have a varied
           and perhaps profound effect on not only your physical body, but more
           importantly your emotional stability. Try not to allow this to cloud or affect
           your judgement, it will be hard for some to see this happening, trust in your
           friends when they point out little slips and errors in your emotional well-
           being, they have your interests at heart!”

      ■■   Empower those around you. “Knowledge equals power which equals
           understanding; empowering those around you to understand will help
           them feel less threatened and confused, which can assist in being treated
           with respect and understanding rather than confusion and possibly even
           contempt and hostility.”

      ■■   Be confident. “Know yourself, make as much effort as possible to be part of
           the team and not hide or be hidden away to avoid embarrassment. Stepping
      14 See Annex D for a list of Service links to boards for correction of military records.

      15 Australian Air Force, Air Force Diversity Handbook: Transitioning Gender in the Air Force,
         April 2013, 19.




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           out in to the work arena will be hard, but the sooner you face this challenge
           the sooner your well-being can return.”
      ■■   Trust. “Trusting others when you’re vulnerable is hard for most serving
           people. We are proud, strong, and generally rather too stubborn to allow
           others to take charge of us when we feel we can manage ourselves. The
           problem is you may not understand all that is happening around you,
           particularly with your coworkers. So listen and trust in your commanders
           based on their good sound knowledge.”

      ■■   Planning. “Map out your transition as best you can, try and forecast as
           much as possible and pass this on to the relevant commanders. Learn and
           understand not only what’s happening now in your world, but look and
           think about where you will be and what you may need.”




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      For the Commander

      “We owe commanders better guidance on how to handle
      questions such as deployment, medical treatment and other
      matters. And this is particularly true for small unit leaders,
      like our senior enlisted and junior officers.”
                                         —Statement by Secretary of Defense Ash Carter16


      The Commander’s Impact
      In the course of your duties, you may encounter a transgender Service member
      who wants to transition gender. It is important that you are aware of your
      obligations and responsibilities with regard to the support and management
      of Service members who are transitioning gender. You are responsible and
      accountable for the overall readiness of your command. You are also responsible
      for the collective morale and welfare and good order and discipline of the unit
      and for fostering a command climate where all members of your command are
      treated with dignity and respect.

      Commander’s Roles and Responsibilities

      In-Service Transition
      When you receive a request from a Service member for medical treatment or
      an ETP associated with gender transition, you must consider the individual
      needs associated with the request and the needs of your command. The table
      below outlines your responsibilities for Active and Reserve Component Service
      members requesting in-service transition. In making a decision on the request,
      your responsibilities include:




      16 U.S. Secretary of Defense Ash Carter Remarks, June 30, 2016.




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          Active Component & Reserve Component                                    Reserve Component
           Uniformed Full-Time Support Personnel                                     (All Others)
         1. Complying with the provisions of DoDI                   1. Same as AC.
            1300.2817 and with Military Department and
            Service regulations, policies, guidance, and
            with your SCCC, as appropriate.

         2. Evaluating a Service member’s request to                2. A Service member will likely provide a
            transition gender. Ensure, as appropriate,                 diagnosis and medical treatment plan from
            a transition process that:                                 a non-MMP. In this instance, it still must be
         ■■ Considers the individual facts and                         validated by the MMP. Consult your chain of
            circumstances presented by the                             command for guidance, if required. You must
            Service member;                                            still evaluate Service member’s request in light
                                                                       of the 3 bullets in the active duty column.
         ■■ Considers military readiness and impacts
            to the mission (including deployment,
            operations, training, and exercise schedules,
            and critical skills availability), as well as to
            the morale and welfare and good order and
            discipline of the unit;
         ■■ Is consistent with the medical treatment plan
            generated or validated by the MMP; and
            incorporates consideration of other factors, as
            appropriate.
         3. Reviewing a Service member’s request for                3. Same as AC.
            completeness.18 If you determine the request
            to be incomplete, you must return it to the
            Service member, with written notice of the
            deficiencies identified, as soon as practicable,
            but not later than 30 days after receipt.




      17 DoDI 1300.28.

      18 Refer to Figure 1 and Service policy for completeness determination; in all cases, it will include:
         completed medical treatment plan and commander approval of request.




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          Active Component & Reserve Component                                   Reserve Component
           Uniformed Full-Time Support Personnel                                    (All Others)
         4. Responding to any requests for medical                  4. Same as AC.
            treatment or an ETP19 associated with
            gender transition, as soon as practicable, but
            not later than 90 days after receiving a
            request determined to be complete. Your
            response shall:
         ■■ Be in writing; including notice of any actions
            taken by you; and
         ■■ Be provided to both the Service member and
            their MMP.
         5. At any time prior to the change of the Service          5. Same as AC.
            member’s gender marker in Service’s personnel
            data system, you may modify a previously
            approved approach to, or an ETP associated
            with, gender transition.
         6. Approving in writing20 the request to change            6. Ensuring non-MMP’s statement of
            a Service member’s gender marker in your                   completion is validated by an MMP, prior to
            Service’s personnel data system upon receipt               your approval. The remaining process in active
            of the recommendation by the MMP and the                   duty column should be followed.
            requisite legal documentation from the Service
            member. The Service member is then able to
            take the approval and the legal documentation
            to the personnel administrative office to obtain
            the change to the gender marker.
         7. When the gender marker in the Service’s                 7. Same as AC.
            personnel data system is changed:
         ■■ Apply uniform, grooming, body composition
            assessment (BCA), PRT, Military Personnel
            Drug Abuse Testing Program (MPDATP),
            and other standards reflecting the Service
            member’s gender marker in the Service’s
            personnel data system; and
         ■■ Direct the use of berthing, bathroom, and
            shower facilities according to the Service
            member’s gender marker as reflected in the
            Service’s personnel data system in facilities
            that are subject to regulation by the military.

      19 Your Service will determine the approval level for ETPs. Refer to Service policy or your SCCC
         if there are concerns.

      20 There is no prescribed format for approving a request to change gender marker. Refer to Service
         policy or your SCCC if there are concerns.




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      What You Should Expect From the Military Medical
      Provider (MMP)
      The MMP plays a key role in the gender transition process. The MMP will:

      ■■   Provide the medical diagnosis applicable to the Service member; list the
           medically necessary treatments, including the timing of the proposed
           treatment and the likely impact of the treatment on the individual’s
           readiness, and deployability; and

      ■■   Formally advise you when the Service member’s medical treatment plan
           for gender transition is complete and recommend a time at which the
           gender marker may be changed in your Service’s personnel data system.

      ■■   Validate the non-MMP’s confirmation that Service member’s gender
           transition is complete.

      Policy Implications
      You have broad responsibilities to maintain your unit’s readiness. Select
      policy areas that may impact the transition process are highlighted below.

      Non-Military Medical Care
      If an active duty Service member’s diagnosis and/or treatment plan are from
      a non-MMP, direct the individual to notify the MMP at the earliest practical
      opportunity to bring the care into the MHS. The MMP must consider, and if
      appropriate, validate the Service member’s diagnosis before initiating any other
      steps in the transition process. If the request is from a non-active duty Service
      member, the non-MMP diagnosis and/or treatment plan must still be approved
      by an MMP.

      Military Personnel Uniform and Grooming Standards
      Exceptions for uniform and grooming standards may be considered per your
      Service’s policy. You may consider current and preferred gender uniforms, form,
      fit and/or function, the Service member’s professional military image, as well as
      impact on unit cohesion and good order and discipline. If you have questions,
      refer to your SCCC.




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      Deployment
      Service members will deploy if they are medically and otherwise qualified
      to do so. As with any Service member, exceptions may be considered by your
      Service and must be coordinated with the deployed commander, if unique
      medical needs exist. Individuals requiring close monitoring or ongoing care
      may not be available for deployment.

      Physical Fitness
      There are no separate standards for transgender Service members. Any
      exceptions to PRT standards will be administered by your Service. Individuals
      undergoing cross-sex hormone therapy may experience changes to their body
      shape and physical strength, which may have a notable effect on their ability to
      maintain standards. If that is the case, consult with the individual and the MMP
      as you would for any other Service member with a medical condition affecting
      their ability to meet physical fitness standards.

      Privacy Accommodations
      If concerns are raised by Service members about their privacy in showers,
      bathrooms, or other shared spaces, you may employ reasonable accommodations,
      such as installing shower curtains and placing towel and clothing hooks inside
      individual shower stalls, to respect the privacy interests of Service members. In
      cases where accommodations are not practicable, you may authorize alternative
      measures to respect personal privacy, such as adjustments to timing of the use
      of shower or changing facilities. This should be done with the intent of avoiding
      any stigmatizing impact to any Service member. You are encouraged to consult
      with your SCCC for guidance on such measures.

      Military Personnel Drug Abuse Testing Program
      The MPDATP23 requires urinalysis specimens to be collected under the direct
      supervision of a designated individual of the same sex as the Service member
      providing the specimen. You have discretion to take additional steps to promote
      privacy, provided those steps do not undermine the integrity of the program.
      However, all collections must be directly observed. You are encouraged to use
      discretion and/or contact your SCCC for additional guidance.

      23 DoDI 1010.16, “Technical Procedures for the Military Personnel Drug Abuse Testing Program
         (MPDATP),” October 10, 2012.




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      Tips for Commanders
      The below tips are provided by an allied foreign military and may prove useful:24

      ■■   Protect the service member’s privacy. Information management is
           very important.

      ■■   Listen to the Service member’s wishes with respect to disclosure to the
           workplace and the broader community.

      ■■   Consider consultation with the chaplain, behavioral health personnel, and
           medical providers.

      ■■   Seek guidance and advice from other commanders and supervisors who
           have experience with individuals who transitioned gender while serving.

      ■■   Encourage the Service member to articulate a plan to include a timeline
           and strategy for notifying coworkers and other command personnel.

      ■■   Assist the Service member with identifying a mentor with whom they
           are comfortable.

      ■■   Encourage open communication. Feel free to ask questions.

      ■■   Ensure bullying, bias, harassment, hazing, or any other unacceptable
           behavior is not tolerated.




      24 Australian Air Force Handbook.




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      For All Service Members

      “I am 100 percent confident in the ability of our military
      leaders and all our men and women in uniform to implement
      these changes in a manner that both protects the readiness of the
      force and also upholds values cherished by the military—honor,
      trust, and judging every individual on their merits.”
                                         —Statement by Secretary of Defense Ash Carter25


      The cornerstone of DoD values is treating every Service member with dignity
      and respect. Anyone who wants to serve their country, upholds our values,
      and can meet our standards, should be given the opportunity to compete to
      do so. Being a transgender individual, in and of itself, does not affect a Service
      member’s ability to perform their job. Previous policy, however, required
      transgender Service members to hide their gender identity and forced them
      to receive their gender-related medical care outside the MHS.

      The June 30, 2016, policy allows transgender Service members to openly
      acknowledge their gender identity, brings all of their medical care into the MHS,
      allows transgender Service members to transition their gender when medically
      necessary, and allows the commander to work with the Service member and an
      MMP to implement a gender transition plan that meets the individual’s medical
      requirements and unit readiness requirements.

      Understanding Gender Transition
      The gender transition process is individualized. Gender transition can
      include social, medical, and legal components. Social transition, in the military
      context, will generally encompass living in the preferred gender after duty hours.
      (You may encounter a situation where you know a Service member by one
      name during duty hours and another after duty hours; this all depends on
      the individual’s transition.) Medical treatment may include behavioral health
      care, use of hormones (which may change physical appearance), and/or surgery.

      25 U.S. Secretary of Defense Ash Carter Remarks, June 30, 2016.




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      Other aspects of transition includes formally changing one’s gender with federal,
      state, and military documentation.
      Some individuals prefer that very few people know they are transgender Service
      members and hope that after transition they can quietly blend in with their new
      gender. Others are committed to educating the public about gender identity, are
      eager to answer questions, and continue to talk openly about being a transgender
      Service member long after transition.

      Revealing gender identity at work may be one of the last steps transgender Service
      members take to live and work in their preferred gender. By the time they inform
      their chain of command they plan to change gender, they have often been dealing
      with this issue for many years. It is also important not to “out” a transgender
      Service member (i.e., do not talk about someone else’s gender identity or status
      unless they are okay with it.) The bottom line is to treat others with the dignity,
      respect, and consideration you would like to be treated with by others.

      Harassment and Bullying
      Everyone plays a role in stopping bullying and harassment. You must be
      proactive and question behavior that is inappropriate at the time it occurs.
      You must report inappropriate behavior to your chain of command immediately.
      Remember, everyone is responsible for fostering the best possible command
      climate within your unit.

      The impact harassment can have on Service members should not be underestimated;
      it has the potential to affect the member both personally and professionally.
      Inappropriate jokes, attitudes, or comments that marginalize transgender Service
      members are damaging to command climate. In an environment that permits
      inappropriate jokes and behavior, transgender Service members who have not
      disclosed their status may be unlikely to seek the care they need.

      Respect for Personal Information
      You are responsible for upholding and maintaining the high standards of the
      U.S. military at all times and at all places. Out of respect for all Service members,
      as mentioned earlier, you should not disclose someone’s gender identity without
      their permission, unless the disclosure is made for official use.26

      26 Services retain the authority provided by law and Department and Service regulations to
         counsel, discipline, and involuntarily separate, as appropriate under the circumstances, those
         Service members who fail to obey established standards.




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      Tips for Service Members
      Your social interactions and developing friendships with peers contribute to
      a positive work environment. Do not make assumptions about an individual’s
      gender or sexual orientation. Let others volunteer personal information.

      Try to ensure planned social activities are inclusive of Service members and their
      families who may not fit into your perception of what is typical.

      If you notice colleagues or peers are expressing opinions that may alienate others,
      speak up regarding how their statements may impact others. Often people may
      be unaware of how their statements, questions, and activities may alienate and
      offend their coworkers, team members, or staff.

      You should be sensitive to the use of pronouns when addressing others. This will
      vary by individual and unit. If there is ever any question about pronoun usage, do
      not hesitate to ask the Service member how they wish to be addressed.

      If you have questions or concerns, you are encouraged to talk with your chain
      of command.

      Privacy
      Maintaining dignity and respect for all is important. You will need to consider
      both your own privacy needs and the privacy needs of others. This includes, but
      is not limited to, maintaining personal privacy in locker rooms, showers, and
      living quarters. One strategy might include adjusting personal hygiene hours.
      If you have concerns, you are encouraged to discuss them with your chain
      of command.




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      Acronyms

       AOR      Area of Responsibility
       BCA      Body Composition Assessment
       DEERS    Defense Enrollment Eligibility Reporting System
       DES      Disability Evaluation System
       DoD      Department of Defense
       DoDI     Department of Defense Instruction
       DTM      Directive-type Memorandum
       ETP      Exception to Policy
       HT/WT    Height/Weight
       IMR      Individual Medical Readiness
       ING      Inactive National Guard
       IR       Individual Readiness
       IRR      Individual Ready Reserve
       MHS      Military Health System
       MLOA     Medical Leave of Absence
       MMP      Military Medical Provider
       MPDATP   Military Personnel Drug Abuse Testing Program
       MSA      Military Service Academy
       MTF      Military Treatment Facility
       PRT      Physical Readiness Test
       RLE      Real Life Experience
       ROTC     Reserve Officers’ Training Corps
       SCCC     Service Central Coordination Cell
       SELRES   Selected Reserve




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        Program (MPDATP),” October 10, 2012.


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      DoDI 1215.13, “Ready Reserve Member Participation Policy,” May 5, 2015.


      DoDI 1300.28, “In-Service Transition for Service Members Identifying as Transgender,” June 30, 2016.


      DoDI 1332.14, “Enlisted Administrative Separations,” January 27, 2014, as amended.


      DoDI 1332.18, “Disability Evaluation System (DES),” August 5, 2014.


      DoDI 1322.22, “Service Academies,” September 24, 2015.


      DoDI 6025.19, “Individual Medical Readiness (IMR),” June 9, 2014.


      DoDI 6130.03, “Medical Standards for Appointment, Enlistment, or Induction in the Military Services,”
        September 13, 2011.


      DoDI 6490.04, “Mental Health Evaluations of Members of the Military Services,” March 4, 2013.


      U.S. Secretary of Defense Ash Carter, “Secretary of Defense Ash Carter Remarks Announcing
         Transgender Policy Changes,” Washington, D.C., June 30, 2016.




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      Annex A:
      Questions and Answers
      Listed below are responses to frequently asked questions organized by topic and
      applicable to multiple audiences.

      The Basics
      1.   What does transgender mean?

      A. Transgender is a term used to describe people whose sex at birth is different
         from their sense of being male or female. A transgender male is someone
         who was born female but identifies as male, and a transgender female is
         someone who was born male but identifies as female.

      2.   What is gender identity?

      A. Gender identity is one’s internal sense of being male or female.

      3.   What is gender dysphoria?

      A. Gender dysphoria is a medical diagnosis that refers to distress that some
         transgender individuals experience due to a mismatch between their gender
         and their sex assigned at birth.

      4.   Is being a transgender person the same as being a transvestite or
           a cross-dresser?

      A. No. “Transvestite” is an outdated term that is considered derogatory.
         A “cross-dresser” is a person who wears clothing of the opposite sex for
         reasons other than gender identity (see question #2). A transgender person
         who dresses according to their gender identity is not “cross-dressing.”

      5.   What is the relationship between sexual orientation and gender identity?

      A. There is no relationship between sexual orientation and gender identity.

      6.   What pronouns should I use with transgender Service members?

      A. This will vary by individual and unit. Transgender Service members should
         work with their unit leadership to establish correct pronoun usage. If there
         is ever any question about pronoun usage, do not hesitate to ask the Service
         member how they wish to be addressed.




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      7.   What happens when federal and state laws appear to conflict?

      A. When not on federal property, Service members must abide by local laws.
         If there are any questions or concerns about how state laws may affect
         Service members and/or their dependents off federal property or in areas
         of concurrent federal and state jurisdiction, the installation legal assistance
         office should be consulted.

           It is also the commander’s responsibility to ensure the safety of unit
           personnel. This includes reminding Service members of risks through use
           of safety bulletins, alerts, or briefings regarding off-installation activities.
           Additionally, judge advocate and SCCC resources are available to enhance
           risk management strategies.

      Health Care Issues
      8.   What hormones do transgender people need?

      A. Not all transgender Service members need cross-sex hormone therapy.
         Male or female hormones may be prescribed by medical providers in order
         for transgender Service members to develop the physical characteristics of
         their preferred gender if that is part of their transition plan.

      9.   What if a deployed transgender Service member loses his or
           her medications?

      A. In the event that a Service member lost his or her supply of hormones,
         and for some unlikely reason was not able to obtain replacements, any
         side effects, like irritability, decreased energy, or hot flashes, would take
         a few weeks to become evident. None of these side effects would be
         life threatening.

      In-Service Transition Policy Issues
      10. Have other countries allowed transgender individuals to serve openly
          in their militaries?

      A. Yes. At least 18 countries: Australia, Austria, Belgium, Bolivia, Canada,
         Czech Republic, Denmark, Estonia, Finland, France, Germany, Israel,
         the Netherlands, New Zealand, Norway, Spain, Sweden, and the United
         Kingdom, allow transgender personnel to serve openly.




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      11. What about Service members whose beliefs just cannot allow them to
          accept this as normal?
      A. In today’s military, people of different moral and religious values work,
         live, and fight together. This is possible because they treat each other with
         dignity and respect. This will not change. There will be no changes regarding
         Service members’ ability to freely exercise their religious beliefs, nor are
         there any changes to policies concerning the Chaplain Corps of the Military
         Departments and their duties. Service members will continue to treat with
         respect and serve with others who may hold different views and beliefs.

      12. What is the Service Central Coordination Cell (SCCC)?

      A. Each Service has an SCCC of medical, legal, and policy experts, primarily to
         advise field commanders and medical service providers. Contact information
         for the SCCCs can be found in Annex D of this handbook.

      13. Will Reserve Component members receive any kind of medical care or
          financial assistance to pay for transition-related treatment? Can they be
          treated in a military treatment facility (MTF) throughout their transition?

      A. Reserve Component members typically receive health care through private
         civilian health insurance. Those enrolled in TRICARE Reserve Select may
         be able to access mental health and hormone treatment through TRICARE
         and are eligible for care in MTFs on a space-available basis. Service
         members are encouraged to contact their civilian provider/TRICARE for
         eligibility benefits. A civilian diagnosis and medical treatment plan must be
         submitted to your chain of command and validated by an MMP. This may
         be accomplished by telemedicine if available or submission of civilian health
         documentation to an MMP for review per Service policy.

      14. How will the military protect the rights of Service members who are
          not comfortable sharing berthing, bathroom, and shower facilities with a
          transitioning Service member? Are they forced to just accept a transgender
          person living and showering with them?

      A. To the extent feasible, a commander may employ reasonable
         accommodations to protect the privacy interests of Service members,
         while avoiding a stigmatizing impact to any Service member.
         Commanders are encouraged to consult with their SCCC for guidance.




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      15. How long will a Service member’s deployment eligibility be affected? Is this
          a way to get out of deployment? Can a Service member in the process of
          transitioning, which can be a lengthy process, still deploy if called upon?

      A. A Service member’s period of non-deployability will vary by individual
         based on the care needed. Availability for deployment and any anticipated
         duty limitations would be part of the conversation Service members
         have with their commanders and medical providers as part of a medical
         treatment plan. Medical recommendations concerning unanticipated calls
         for deployment would be made in the same way as other medical conditions
         and as part of the pre-deployment process.

       New Accession Policy Issues

      Recruiting
      16. Does the new policy mean the Military Services will start recruiting
          transgender applicants immediately?

      A. No, policy is being revised to allow the Military Services to recruit new
         personnel no later than July 1, 2017.27

           When training of the Force is complete and the new DoDI 6130.03 is
           effective, the Military Services will begin accessing transgender applicants
           who meet all standards, holding them to the same physical and mental
           fitness standards as everyone else who wants to join the military.

           Detailed accession policy can be found in in DoD DTM 16-005, “Military
           Service of Transgender Service Members.”28

      17. What should a recruiter do if a transgender applicant wants to enlist, but
          the new policy is not in place?

      A. A recruiter should ensure the applicant meets all standards (e.g., physical
         fitness, medical fitness) prior to being accessed. This is also a good time to
         assist the applicant in understanding the accession requirements so they
         can prepare themselves for entry once the new policy is in place.

      27 DTM 16-005.

      28   Ibid.




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      Military Service Academy (MSA)/
      Reserve Officers’ Training Corps (ROTC)
      18. Does the new accession policy mentioned above apply to the Service
          Academies and the Reserve Officers’ Training Corps (ROTC)?

      A. Yes, effective July 1, 2017, the gender identity of an otherwise qualified
         individual will not bar them from joining the military, from admission
         to the MSAs, or from participating in ROTC or any other accession
         program. However, they must adhere to accession standards prior to
         being commissioned.

      19. If ROTC or MSA students seek to transition during college, would they
          need to be stable for 18 months prior to commissioning?

      A. Yes. An individual participant who is transgender is subject to separation
         from ROTC in accordance with DoDI 1215.0829 or from an MSA in
         accordance with DoDI 1322.22,30 based on a medical condition that
         impairs the individual’s ability to complete such training or to access into
         the Armed Forces, under the same terms and conditions applicable to
         participants in comparable circumstances not related to transgender
         persons or gender transition. ROTC and MSA cadets and midshipmen
         are required to meet medical accessions standards when they are
         appointed as commissioned officers.

      20. What are the medical requirements that must be met by an MSA cadet or
          midshipman to be eligible for a commission?

      A. Cadets and midshipmen are subject to medical accession standards
         enumerated in DoDI 6130.0331 prior to being commissioned.




      29 DoDI 1215.08, “Senior Reserve Officers’ Training Corps (ROTC) Programs,” June 26, 2006.

      30 DoDI 1322.22, “Service Academies,” September 24, 2015.

      31 DoDI 6130.03, “Medical Standards for Appointment, Enlistment, or Induction in the Military
         Services,” September 13, 2011. (Currently under revision to reflect DTM 16-005 changes.)




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      21. What are the medical requirements that must be met by a ROTC cadet or
          midshipman to be eligible for a commission?

      A. In accordance with DoDI 1215.08,32 E3.2 (Senior ROTC Programs),
         complete medical examinations must be conducted before enrollment in
         the scholarship program or at the time of or immediately before enrollment
         in Senior ROTC programs of the Army, Navy, and Air Force. Such
         examinations must, in all respects, be equal to the examination conducted
         to determine medical qualifications for appointment as a commissioned
         officer. Provided the cadet or midshipman meets the requirements in DoDI
         6130.03,33 they would be qualified to receive a commission.

      22. Would a cadet or midshipman be able to undergo hormone therapy while at
          one of the MSAs or enrolled in ROTC?

      A. It depends. Cadets and midshipmen must continue to meet medical
         accession standards while at the MSA or enrolled in ROTC. If the
         standards for appointment into the U.S. Military Services are not
         maintained, an ROTC cadet or midshipman may be placed on an
         involuntary Medical Leave of Absence (MLOA) by the Service Secretary
         or designee. When an MLOA is recommended, a medical record review
         will determine whether the health-related incapacity or condition presents
         clear evidence that, following medical treatment, the cadet or midshipman
         will be unable to meet the physical standards for appointment into the U.S.
         Armed Forces within a reasonable period of time. Military Service Academy
         cadets and midshipmen who cannot meet medical accession standards and
         become medically disqualified may be disenrolled.34




      32 DoDI 1215.08.

      33 DoDI 6130.03.

      34 DoDI 1322.22.




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      Annex B:
      Gender Transition Roadmap for U.S. Military Personnel
      Below is a summary of the gender transition process for a Service member
      in accordance with the recently implemented DoD Instruction, “In-Service
      Transition for Transgender Service Members.” The roles, responsibilities,
      and courses of action available to transgender Service members and their
      commanders are described below.

       Service Member Responsibilities

      Before Initiating Gender Transition
      Request an assessment by an MMP in order to confirm a diagnosis stating
      gender transition is medically necessary.

          ■■   Collaborate with and assist the MMP with developing a medical
               treatment plan for submission to the commander. This plan should
               include a projected timeline for completion of gender transition, and
               estimated periods of non-deployability and absence.

          ■■   Notify the commander of the recommended treatment and request
               approval of the timing of the treatment plan. The written request
               should include the following:

               ●●   Medical treatment plan outlining all medically necessary care and
                    a projected schedule for such treatment; and an estimated date for
                    the completion of gender transition and a gender marker change
                    in the appropriate Service personnel data system.

      Reserve Considerations
          ■■   All transgender Reserve Component Service members (except Selected
               Reserve (SELRES) Full-Time Support personnel who fall under Active
               Component rules/requirements) will submit to, and coordinate with,
               their chain of command evidence of a civilian medical evaluation that
               includes a medical treatment plan.

          ■■   To the greatest extent possible, commanders and Service members shall
               address periods of non-availability for any period of military duty, paid
               or unpaid, during the Service member’s gender transition with a view




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              to mitigate unsatisfactory participation through the use of rescheduled
              training or authorized absences.

      During Gender Transition
         ■■   Initiate gender transition after obtaining the commander’s approval.

         ■■   Inform the commander of any medical issues that come up in the
              course of gender transition.

         ■■   Notify the commander of any changes to the approved timeline of the
              medical treatment plan.

         ■■   Request the commander process an ETP, if necessary.

      When Gender Transition is Complete
         ■■   Through your MMP, inform the commander that gender transition is
              complete, along with a recommended time to change gender marker in
              the Service personnel data system.

         ■■   Request the commander’s written approval to change the gender
              marker in the Service personnel data system. The request must comply
              with Service policies and must, at a minimum, be accompanied by one
              of the following legal documents to support gender change:

              ●●   A certified true copy of a State birth certificate reflecting your
                   preferred gender;

              ●●   A certified true copy of a court order reflecting your preferred
                   gender; or

              ●●   A U.S. passport reflecting your preferred gender.

         ■■   Upon receipt of the commander’s approval, submit supporting
              documentation to personnel servicing activity to change the
              gender marker in the Service personnel data system.

      After Gender Marker Change in the Service Personnel Data System
         ■■   Meet applicable Service standards of the preferred gender, including
              medical fitness, physical fitness, uniform and grooming, deployability,
              and retention standards.




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          ■■   Use military berthing, bathroom, and shower facilities associated with
               the preferred gender.
          ■■   Request ETPs, as needed, from the commander.

       Commander Responsibilities

      Before Initiating Gender Transition
      No later than 30 calendar days after receiving a Service member’s request to
      transition gender:

          ■■   Review Service member’s request to ensure that it contains the required
               documentation in accordance with DoD and Service policies, to include
               a medical treatment plan with a projected timeline for completion
               of gender transition, estimated periods of non-deployability/absence,
               and estimated date of gender marker change;

          ■■   Coordinate with an MMP. If request to transition gender is from an
               RC Service member they will likely provide a diagnosis and medical
               treatment plan from a non-MMP. In this instance, it still must be
               validated by an MMP;

          ■■   Consult with the SCCC; and

          ■■   If the Service member’s request is incomplete, return it with a written
               notice of additional required documentation.

      No later than 90 calendar days after receiving a Service member’s
      request to transition gender:

          ■■   Provide a written response to Service member’s request for gender
               transition or an ETP, with a copy to the MMP; and

          ■■   In reviewing the Service member’s gender transition request, ensure
               the decision:

               ●●   Complies with DoD, Service policies, and guidance;

               ●●   Considers the individual facts and circumstances presented by the
                    Service member;




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                ●●   Considers the needs of the command (including deployment,
                     operations, training, exercise schedules, critical skills availability,
                     morale and welfare, and good order and discipline of the unit);

                ●●   Minimizes impacts to the mission and readiness by balancing the
                     needs of the individual with the needs of the command;

                ●●   Is consistent with the medical treatment plan; and

                ●●   Incorporates input provided by the MMP.

      During Gender Transition
      In cases where a transitioning Service member is unable to meet standards or
      requests an ETP during the gender transition, review Service policies outlining
      the actions a commander may take to balance the needs of the individual
      Service member and unit readiness. As permitted by Service policies, the
      commander may:

           ■■   Adjust the date on which the Service member’s gender transition, or
                any component of the transition process, will commence;

           ■■   Advise the Service member regarding options for extended leave
                status or participation in other voluntary absence programs during
                the transition process;

           ■■   Arrange for the transfer of the Service member to another organization,
                command, location, or duty status (e.g., Individual Ready Reserve
                (IRR)), as appropriate, during the transition process;

           ■■   Review and forward ETP requests for application of standards for
                uniforms and grooming, PRT, and MPDATP participation;

           ■■   Establish, or adjust, command policies on the use of berthing,
                bathroom, and shower facilities;

           ■■   Refer for a determination of fitness in the disability evaluation system
                in accordance with DoDI 1332.18;35



      35 DoDI 1332.18, “Disability Evaluation System (DES),” August 5, 2014.




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         ■■   Initiate administrative proceedings, comparable to actions that could
              be initiated with regard to others whose ability to serve is limited by
              medical conditions unrelated to gender transition; and

         ■■   Consult the SCCC, with regard to:

              ●●   Service by transgender Service members and gender transition in
                   the military;

              ●●   Implementing DoD, Military Department, and Service policies and
                   procedures; and

              ●●   Assessing the means and timing of any proposed medical care
                   or treatment.

         ■■   Coordinate with the MMP regarding any medical issues that arise in
              the course of a Service member’s gender transition;

         ■■   Ensure that requests for ETPs are processed within 90 days and provide
              a written response to both the Service member and their MMP; and

         ■■   Modify a previously approved timeline for gender transition or an ETP
              at any time prior to the change in a Service member’s gender marker in
              the Service personnel data system.

              ●●   A determination that modification is necessary and appropriate will
                   be made in accordance with DoD/Service policies and procedures.

              ●●   Notify Service member of such modification under established
                   DoD procedures as described in the ‘before intitiating gender
                   transition’ section at beginning of ‘commander’s responsibilities’.

      When Gender Transition is Complete
         ■■   Review a Service member’s request to change gender marker in the
              Service personnel data system to ensure that it complies with Service
              requirements, to include at a minimum:

              ●●   A recommendation from the MMP stating that gender transition
                   according to the medical treatment plan is complete and that the
                   Service member is stable in the identified gender; and




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              ●●   One of the following legal documents to effect gender change:

                   ●●   A certified true copy of a State birth certificate reflecting the
                        Service member’s preferred gender;

                   ●●   A certified true copy of a court order reflecting the Service
                        member’s preferred gender; or

                   ●●   A U.S. passport reflecting the member’s preferred gender.

         ■■   If the Service member’s request is complete, provide written approval
              to Service member authorizing gender marker change in the Service
              personnel data system.

      After Gender Marker Change in the Service Personnel Data System
         ■■   Apply uniform standards, grooming standards, BCA standards, PRT
              standards, MPDATP standards, and other standards according to the
              Service member’s identified gender listed in the Service personnel
              data system.

         ■■   Direct the use of military berthing, bathroom, and shower facilities
              according to the Service member’s gender listed in the Service
              personnel data system.

         ■■   Review ETP requests as appropriate.




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      Annex C:
      Scenarios
      The following fictional cases illustrate scenarios that may be encountered when
      addressing individual issues.36 The delineation of responsibilities in each scenario
      is intended only to provide a general discussion of issues that may arise. The
      scenarios are not all inclusive, nor are they directive in nature. All personnel are
      reminded to consult with their Chain of Command, SCCC, Service, and DoD
      guidelines before determining the best course(s) of action. Commanders are
      reminded of their responsibility to ensure good order and discipline throughout
      their entire unit.

      Readiness

       Scenario 1: Inability to Meet Standards during Transition

      A senior officer, Tony, is transitioning to become Tanya. The officer is about
      halfway through the gender transition timeline agreed upon with his military
      medical provider (MMP) and commander and is taking feminizing hormone
      therapy. The officer is aware that male standards (berthing, uniform, BCA, PRT,
      etc.) will still apply until his transition is complete. However, midway through
      hormone treatment, it becomes increasingly difficult for Tony to meet the
      male body composition and physical readiness standards. Tony’s commander
      is supportive, but several key unit training events have been scheduled over the
      next several months, making immediate accommodation difficult.

      Key takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to individual medical readiness (IMR) that may impact the ability to
      meet standards. It is essential that communication among Service member,
      commander, and the MMP is ongoing.

      Service member responsibilities

           ■■    If necessary, work with the MMP to obtain proper waiver for male
                 physical readiness standards during the period of gender transition
                 and ensure the commander is informed; and


      36 The scenarios presented are fictitious and not intended to represent any actual person or event.




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           ■■   Discuss alternatives with the commander, such as rescheduled
                training events or extended leave/absence until gender transition
                process is complete.

      Commander responsibilities

      The commander can exercise multiple options listed below, as permitted by DoD
      and Service policies:

           ■■   Advise Tony on the option of taking extended leave/absence during the
                gender transition process;

           ■■   Explore the possibility of transferring Tony to another organization
                with less rigorous operational requirements;

           ■■   Refer Tony for a determination of fitness in the disability evaluation
                system;37 or

           ■■   Review approved ETPs consistent with Service policies for male
                physical readiness and male body composition standards and ensure
                they are followed until the change of gender marker in the Service
                personnel data system to a female is complete.

       Scenario 2: Physical Standards

      A Service member has completed their medical treatment plan and is requesting
      commander approval to change their gender marker in the Service personnel
      data system. The commander has concerns about the Service member’s ability to
      meet height/weight (HT/WT) and physical readiness training (PRT) standards
      for the preferred gender.

      Key takeaway(s)

      This scenario illustrates the importance of ongoing communication among
      Service member, commander, and the MMP, and the requirement for the
      commander to approve in writing all gender marker change requests. This
      communication will assist the commander in determining the timing of the
      gender marker change in the Service’s personnel data system.

      37 DoDI 1332.18. (USCG reference is Physical Disability Evaluation System, COMDTINST
         M1850.2 (series))




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      Service member responsibilities

          ■■   Part of your transition process should include a provision to meet new
               HT/WT and PRT standards and consider whether an ETP will be
               required as you progress through the medical treatment plan.

          ■■   Continue communicating with your commander and your MMP
               on your ability to meet HT/WT and PRT standards.

      Commander responsibilities

          ■■   Part of the Service member’s transition process should include a
               provision to meet new HT/WT and PRT standards as they progress
               through their medical treatment plan.

          ■■   Counsel Service member on HT/WT requirements and personal
               fitness and the potential negative outcomes should they fail to meet
               those requirements.

          ■■   Consult with the MMP on Service member’s ability to meet standards.

          ■■   Consider two possible courses of action for gender maker change in
               Service personnel data system: (1) grant gender marker change with
               ETPs or (2) delay gender marker change until all standards of the
               preferred gender are met.

          ■■   Consult DoD and Service policy as well as the SCCC.

       Scenario 3: Pregnancy

      Lieutenant Marty changed his gender marker in the Service personnel data
      system from female to male after completing an approved transition plan.
      Lieutenant Marty has not had sex reassignment surgery as part of the transition
      plan and is working with his MMP on a plan to start a family. Lieutenant
      Marty approached his commanding officer a few weeks ago and mentioned
      he was pregnant.

      Key takeaway(s)

      This scenario illustrates the importance of ongoing communication among
      Service member, commander, and the MMP with regard to Individual Medical
      Readiness (IMR). It also emphasizes the importance of understanding




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      special medical care that may be required and administrative benefits resulting
      from pregnancy.
      Service member responsibilities

          ■■   It is your responsibility to notify the chain of command of any change
               to IMR.38

          ■■   Though you have changed your gender marker in the Service personnel
               data system, there are IMR requirements that may be contrary to what
               is listed in the personnel data system (i.e., gender reflects male, however
               you have female anatomical characteristics). Health matters specific
               to anatomical characteristics still require appropriate medical review
               as they may affect your overall health and readiness, thus you will still
               require annual female examinations.

          ■■   You will receive any/all treatment/check-ups/physicals as it relates
               to female genitalia, including, in this case, prenatal care. Upon giving
               birth, you will be entitled to all relevant medical care, administrative
               entitlements, and leave prescribed under Service policies.

          ■■   Be aware that colleagues may find this situation confusing. Consider
               how and when you would like to discuss the pregnancy with your
               chain of command and colleagues.

      Commander responsibilities

          ■■   Comply with Service pregnancy policies.

          ■■   Understand and be prepared to address administrative entitlements
               with Lieutenant Marty (i.e., maternity leave).

          ■■   Even though Lieutenant Marty has maintained female anatomy, he
               must be screened for pregnancy prior to deployment. If Lieutenant
               Marty became pregnant on deployment he will be transferred in
               accordance with Service policy.

          ■■   Consider workplace communications at the appropriate time with
               consideration of Lieutenant Marty’s wishes.

          ■■   Consult with the SCCC.
      38 DoDI 6025.19.




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      Career

       Scenario 4: Specialized Career Limitations

      A male aviation officer with 12 years of service approaches his commanding
      officer and requests guidance on how to complete a transition from “Eric” to
      “Erica.” He has been living as a female when not on duty, and has already
      started hormone therapy, prescribed by a civilian provider, sought consultation
      for surgical transition, and is about to have a legal name change.

      Key takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to IMR, and the importance of bringing all medical care into the
      MHS, whether a member of the Active or Reserve Component. Even though
      the Service member has received gender transition-related treatment with
      a civilian medical provider, they must have their subsequent care within the
      military health system. Finally, the scenario highlights how performance of
      duty may be limited depending on specialty/career field.

      Service member responsibilities

          ■■     Immediately notify the flight surgeon of care received by a civilian
                 medical provider.

          ■■     You are required by policy to inform your commander of medical
                 treatment that may impact your medical readiness status.

          ■■     You have a responsibility to maintain your health and fitness, meet
                 IMR requirements,39 and report medical (including mental health)
                 and health issues that may affect your readiness to deploy or fitness
                 to continue serving in an active/reserve status;

          ■■     Receive a diagnosis and a treatment plan from an MMP.

          ■■     Provide all medical documentation from your civilian provider to
                 the MMP.

          ■■     Develop a transition timeline with the MMP and the commander.

      39 Ibid.




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      Commander responsibilities

          ■■   Consider Service policies applicable to Service members regarding
               unauthorized medical care.

          ■■   Direct Service member to an MMP for diagnosis and review of
               procedures already performed.

          ■■   Consult the MMP and/or the SCCC regarding the impact of gender
               transition on the Service member’s readiness status and ability to
               perform military duties, highlighting the immediate impact to the
               officer’s ability to maintain aviation credentials.

          ■■   Consider the timing of medical requirements in the treatment plan and
               any impacts to the mission (including deployments, operations, training
               and exercises) as well as the morale and welfare, and good order and
               discipline of the unit.

       Scenario 5: Entry-Level Training

      After four months, Private Lee completes recruit and combat training. She
      then reports to Ft. Sill for Military Occupational Specialty training. Upon
      arrival, Private Lee tells her Platoon Sergeant she is currently feeling distress
      as she believes she should be a man. Although she pushed herself through to
      completion, recruit training increased her distress. Private Lee has expressed
      reluctance about seeing a mental health specialist and/or medical care provider.

      Key takeaway(s)

      This scenario illustrates the importance of receiving a proper diagnosis from the
      MMP prior to other actions being taken. The commander has tools available to
      facilitate medical care for a Service member’s well-being and to ensure Service
      members complete initial entry training.

      Service member responsibilities

          ■■   Discuss situation with the commander.

          ■■   Obtain an evaluation by an MMP.




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      Next, Private Lee received a diagnosis of gender dysphoria, and the commander
      is told her training will be interrupted as treatment is medically necessary. After
      one month, it is clear Private Lee’s medical condition impairs her ability to train.

      Commander responsibilities

           ■■   Consult with an MMP and determine need for a command-directed
                mental health evaluation.40

           ■■   Consult with the SCCC.

           ■■   Inform Private Lee potential courses of action may include: withdrawal
                from training due to her medical condition, a training delay, or an initial
                entry separation if within 180 days of accession.41

      Reserve Component

       Scenario 6: Individual Ready Reserve

      Corporal Kennedy is a member of the IRR and does not have access to an
      MMP. He has recently completed the transition from female to male. Corporal
      Kennedy wants to be considered male by his Service. He has a new birth
      certificate showing his preferred gender.

      Key takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to IMR, whether a member of the Active or Reserve Component. Even
      though the Service member did all of their gender transition-related treatment
      with a civilian medical provider, they must still adhere to established military
      medical and personnel processes.




      40 DoDI 6490.04, “Mental Health Evaluations of Members of the Military Services,”
         March 4, 2013.

      41 DoDI 1332.14, “Enlisted Administrative Separations,” January 27, 2014, as amended.




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      Service member responsibilities

           ■■   All IRR Service members have a responsibility to maintain their
                health and fitness, meet IMR requirements,42 and report to their
                chain of command any medical (including mental health) and
                health issues that may affect their readiness to deploy or fitness
                to continue serving.

           ■■   Provide medical documentation indicating that transition is complete
                to their IRR command and ensure it is available to an MMP to confirm
                the diagnosis.

           ■■   Provide legal documentation of gender change (i.e., certified birth
                certificate, U.S. passport, certified court order) to IRR command.

      Commander responsibilities

           ■■   Review documentation with an MMP to ensure completeness and
                compliance with Service instructions and DoD policy.

           ■■   If complete, provide letter authorizing gender marker change in the
                Service personnel database.

           ■■   Consult with SCCC.

       Scenario 7: Standards and Exceptions to Policy

      Sergeant Rich, a Selected Reservist, informs his commanding officer that he
      has been living as a female when he is not in a drilling status. He requests to
      be called Meena; to use the female bathroom; to be held to female physical,
      uniform, and grooming standards; and to have his gender changed in his official
      military personnel file.

      Key takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to IMR, whether a member of the Active or Reserve Component.
      Even though the Service member has initiated their gender transition-related
      treatment with a civilian medical provider, they must still adhere to established
      military medical and personnel processes.

      42 DoDI 1215.13, “Ready Reserve Member Participation Policy,” May 5, 2015.




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      Service member responsibilities

           ■■   All Selected Reserve Service members have a responsibility to maintain
                their health and fitness, meet IMR requirements,43 and report to
                their chain of command any medical (including mental health) and
                health issues that may affect their readiness to deploy or fitness to
                continue serving.

           ■■   Provide medical documentation to the MMP showing diagnosis and
                medical treatment received from civilian medical provider.

           ■■   Upon confirmed diagnosis by the MMP, work with the MMP and
                commander to develop a transition plan.

           ■■   Provide legal documentation of gender change (i.e., certified birth
                certificate, U.S. passport, certified court order).

      Commander responsibilities

           ■■   Facilitate Sergeant Rich’s consultation with the MMP and discuss need
                for any ETPs that may be required.

           ■■   Upon confirmed diagnosis by the MMP, work with Sergeant Rich and
                the MMP to develop a gender transition plan consistent with your
                unit’s operational responsibilities.

           ■■   When transition is complete, as certified by the MMP, provide a letter
                authorizing gender marker change in the Service personnel database.

           ■■   Ensure your unit is properly trained to accept and understand Sergeant
                Rich’s preferred gender.

       Scenario 8: Satisfactory Reserve Participation

      Sergeant Williams is a Selected Reserve member with an Army Reserve
      unit. He has been in consultation with his commander regarding his gender
      transition. The medical treatment portion of his gender transition will require
      him to miss up to 2 months of duty. Both the commander and Sergeant
      Williams are working through potential mitigation strategies to ensure
      he does not become an unsatisfactory participant.

      43 DoDI 6025.19.




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      Key policy takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to IMR, whether a member of the Active or Reserve Component.
      The commander also has tools available to address the Service member’s absence.

      Service member responsibilities

           ■■   As part of the previously agreed to transition, continued communication
                with the commander is key to success.

           ■■   Be aware of participation requirements to ensure a satisfactory year
                is achieved.

           ■■   Consult with the commander regarding alternative training opportunities.

      Commander responsibilities

           ■■   You have the necessary tools to develop an initial mitigation strategy;
                options available to you include: (1) rescheduled training; (2) authorized
                absences; or (3) alternate training.

           ■■   Individual Service policies will detail processes and procedures required
                to use the above mitigation tools.

           ■■   Consult with your SCCC.

           ■■   Ensure your unit is properly trained to accept and understand Sergeant
                Williams’ preferred gender.

       Scenario 9: Medical Compliance

      Airman Bristol, a Selected Reserve member with an Air Force Reserve unit,
      has an approved transition plan. She has been contemplating an unscheduled
      medical procedure between unit training assemblies. It is highly unlikely that the
      surgical procedure will require her to miss training. Airman Bristol is uncertain
      if she needs to report the procedure to her chain of command.




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      Key takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to IMR, whether a member of the Active or Reserve Component.
      Even though the Service member has initiated their gender transition-related
      treatment with a civilian medical provider, they must still adhere to established
      military medical and personnel processes. The commander also has tools
      available to facilitate the Service member’s well-being.

      Service member responsibilities

          ■■     You have a responsibility to maintain your health and fitness, meet
                 IMR requirements,44 and report to your chain of command any medical
                 (including mental health) and health issues that may affect your
                 readiness to deploy or fitness to continue serving in an active status.

          ■■     Discuss with your commander to address potential adjustments to your
                 transition plan and any readiness implications.

      Commander responsibilities

          ■■     You should prepare Airman Bristol for any potential periods of non-
                 availability and work with her to mitigate absences. Options available
                 to you include: (1) rescheduled training; (2) authorized absences; or (3)
                 alternate training.

          ■■     Consider potential adjustments to Airman Bristol’s transition plan
                 based on individual needs as well as readiness.

          ■■     Individual Service policies will detail processes and procedures required
                 to use any of these mitigation tools.

          ■■     You must also balance the needs of the individual and the unit in terms
                 of readiness. While Airman Bristol may have great flexibility in her Air
                 Force Reserve unit as to the timing of the medical procedure, this may
                 not always be the case. Continued dialogue between you and Airman
                 Bristol is important to individual and unit readiness. For further
                 information, you should consult your chain of command and/or SCCC.



      44 Ibid.




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       Scenario 10: Unauthorized Medical Care

      An Active Guard/Reserve (AGR) National Guardsman has completed nearly all
      aspects of gender transition with the assistance of a civilian medical provider. His
      gender transition and medical treatment have not been disclosed to the chain of
      command. He would like to be recognized in his preferred gender.

      Key takeaway(s)

      This scenario illustrates the importance of notifying the commander of any
      changes to IMR, whether a member of the Active or Reserve Component. Even
      though the Service member did all of their gender transition-related treatment
      with a civilian medical provider, they must still adhere to established military
      medical procedures.

      Service member responsibilities

      Even though you have completed nearly all aspects of gender transition by a
      civilian medical provider, you must:

           ■■   By policy, inform your commander of medical treatment that may
                impact your medical readiness status.

           ■■   Maintain your health and fitness, meet IMR requirements, and report
                medical (including mental health) and health issues that may affect
                your readiness to deploy or fitness to continue serving in an active/
                reserve status.

           ■■   Request and receive a diagnosis and a treatment plan from an MMP.

           ■■   Provide all medical documentation from your civilian provider to
                the MMP.

           ■■   Develop a transition timeline with the MMP and the commander.

      Commander responsibilities

           ■■   Consider Service policies applicable to Service members regarding
                unauthorized medical care.

           ■■   Direct the Service member to military medical for diagnosis and review
                of procedures already performed.




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          ■■   Consult the MMP and/or the SCCC regarding the impact of gender
               transition on the Service member’s readiness status and ability to
               perform military duties.

          ■■   Consider the timing of medical requirements in the treatment plan and
               any impacts to the mission (including deployments, operations, training
               and exercises) as well as the morale and welfare, and good order and
               discipline of the unit.

      Privacy and Cohabitation

       Scenario 11: Use of Shower Facilities

      A transgender Service member has expressed privacy concerns regarding the
      open bay shower configuration. Similarly, several other non-transgender Service
      members have expressed discomfort when showering in these facilities with
      individuals who have different genitalia.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander. It also depicts steps a commander may
      take to permit privacy, based on Service policy.

      Service member responsibilities

          ■■   If you have any concerns about privacy in an open bay shower setting,
               you should discuss this with your chain of command.

          ■■   Consider altering your shower hours.

      Commander responsibilities

          ■■   You may employ reasonable accommodations when/if you have a
               Service member who voices concerns about privacy. This should be
               done with the intent of avoiding any stigmatizing impact to any
               Service member. If permitted by Service policies, some of these
               steps may include:

               ●●   Facility modifications, such as installing shower curtains and
                    placing towel and clothing hooks inside individual shower stalls.




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               ●●   In cases where accommodations are not practicable, you may
                    authorize alternative measures to respect personal privacy, such as
                    adjustments to timing of the use of shower or changing facilities.

               ●●   Take proactive steps through the chain of command to ensure that
                    expressions of discomfort don’t escalate into harassment or hazing.

               ●●   Consult the SCCC for guidance on how to institute such measures.

       Scenario 12: Urinalysis

      A transgender Service member is randomly selected to undergo a urinalysis test
      at their new command.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander. The commander must adhere to
      procedures outlined in the Military Personnel Drug Abuse Testing Program
      (MPDATP)45 and Service policy.

      Service member responsibilities

          ■■   Discuss your circumstances with command leadership during sign-in
               period to determine your options and allow the commander the ability
               to adjust as required/desired for your comfort and the comfort level of
               the observer, particularly if you have not undergone full surgical change.

      Commander responsibilities

          ■■   Depending on Service regulations, you may consider alternate
               observation options if a request from a transgender Service member or
               an observer is made. Options could include observation by a different
               observer or medical personnel.

          ■■   You have discretion to take additional steps to promote privacy,
               provided those steps do not undermine the integrity of the program.
               However, all collections must be directly observed.



      45 DoDI 1010.16.




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          ■■   Consult with the SCCC; if unable to make special accommodation,
               spend time discussing with both the observer and the Service member.
          ■■   Ensure your observers are properly trained.

      Good Order and Discipline

       Scenario 13: Living Quarters

      You are the leading Chief Petty Officer aboard ship. A high performing Petty
      Officer, who is transgender and completely transitioned, approaches you and
      states she can no longer tolerate her roommate. Through positive reinforcement,
      counseling, and mentorship, you attempt to resolve the issue at the lowest level
      in the chain of command. However, you notice her performance starting to
      diminish, and she and her roommate are making derogatory comments to co-
      workers about each other. The behavior has become disruptive to the entire unit
      and others are starting to complain. She puts in a request to be re-assigned to
      another berthing area onboard ship.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander, as well as standards of conduct. It also
      highlights existing tools available to resolve the situation.

      Service member responsibilities

          ■■   Respecting each other’s rights within a closed space is critical to
               maintaining good order and discipline.

          ■■   Standards of conduct apply equally to all Service members.

      Commander responsibilities

          ■■   Take an active and positive leadership approach with a focus on conflict
               resolution and professional obligations to maintain high standards
               of conduct.

          ■■   Counsel the individuals and encourage them to resolve their personal
               differences. Make clear to both that respecting each other’s rights within
               a closed space is critical to maintaining good order and discipline.




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           ■■   If the issue cannot be resolved and alternative berthing arrangements
                can be made within command policy and without degrading good order
                and discipline of the unit, you may consider alternative arrangements.

       Scenario 14: Proper Attire during a Swim Test

      It is the semi-annual swim test and a female to male transgender Service
      member who has fully transitioned, but did not undergo surgical change, would
      like to wear a male swimsuit for the test with no shirt or other top coverage.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander. It also depicts steps a commander may
      take to permit privacy, based on Service policy.

      Service member responsibilities

           ■■   You may be comfortable with your outward appearance; however, there
                may be a period of adjustment for others. It is courteous and respectful
                to consider social norms and mandatory to adhere to military standards
                of conduct.

           ■■   Discuss with your chain of command.

      Commander responsibilities

           ■■   It is within your discretion to take measures ensuring good order
                and discipline.

           ■■   When administering the swim test, counsel the individual and address
                the unit, if additional options (e.g., requiring all personnel to wear
                shirts) are being considered.

           ■■   Consult with your SCCC.

       Scenario 15: Living Quarters

      Following her transition (which did not include any sex reassignment surgery)
      and gender marker change in the Service personnel data system from male
      to female, Petty Officer Kelleher was assigned to a Coast Guard cutter and




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      provided quarters in female berthing. Shortly after her arrival aboard the
      cutter, several females in Petty Officer Kelleher’s berthing area complained to
      the Command Senior Chief about being uncomfortable around Petty Officer
      Kelleher as she still has male genitalia. The Command Senior Chief approached
      the commanding officer with these complaints hoping to achieve some sort
      of resolution.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander, as well as standards of conduct. It also
      highlights existing tools available to resolve the situation.

      Service member responsibilities

           ■■   You are not required to modify or adjust your behavior based on the fact
                you do not “match” the physical appearance of those in your berthing
                area. You must, however, follow all relevant shipboard and/or Service
                regulations commensurate with your gender.

           ■■   If you suspect others feel uncomfortable, or begin to feel uncomfortable,
                you should immediately reach out to an appropriate member of your
                command and note your concern. Should you feel uncomfortable
                approaching your command, every effort should be made to use
                resources available through the command senior enlisted leader
                network (e.g., Command Master Chief, Command Sergeant Major).

           ■■   The preservation of personal privacy, dignity, and respect is a
                responsibility shared by all crew members.

      Commander’s responsibilities

           ■■   Prior to Petty Officer Kelleher’s arrival, ensure crew has received
                baseline training on policy regarding service by transgender personnel.

           ■■   Immediately upon the gender marker change in the Service personnel
                data system, Petty Officer Kelleher will be responsible for meeting
                all applicable military standards in her preferred gender, and subject
                to regulation by the military, will use those berthing, bathroom, and
                shower facilities associated with the preferred gender.




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          ■■   You are responsible for the collective morale and welfare and good order
               and discipline of the unit and for fostering a command climate where
               all members of your command are treated with dignity and respect.

          ■■   An initial approach to the complaints may entail meeting with the
               Command Senior Chief as well as the complaining members of the
               berthing area to determine the exact nature of their complaints. You
               should inform them that Petty Officer Kelleher’s assignment to female
               berthing is required regardless of her physical appearance and that their
               lack of comfort is not reason to prevent Petty Officer Kelleher from
               residing in female berthing or make her subject to treatment different
               from others.

          ■■   Similarly, as with any other issue taking place in a berthing area that
               affects the morale and welfare and good order and discipline, you (or
               Command Senior Chief ) may also want to speak with Petty Officer
               Kelleher to inform her of the perceived problem regarding her physical
               appearance and its effect on the other members in the berthing area.
               Such a conversation should be handled very carefully; coordination with
               the SCCC is advisable to gain assistance on strategies to successfully
               engage in such communication.

          ■■   In every case, you may employ reasonable accommodations to respect
               the privacy interests of Service members. Avoid stigmatizing actions
               that may single out any Service members in an attempt to resolve
               the complaints.

      Real Life Experience (RLE)

       Scenario 16: Attending a Unit Social Event

      A Service member has been undergoing transition for the last three months,
      from male to female, and his gender marker has not been changed in the Service’s
      personnel data system. Only the immediate chain of command is aware of this
      transition. The Service member desires to attend an off-post unit event dressed
      as a female.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander, as well as standards of conduct. It also




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      highlights existing tools available to resolve the situation, as well as emphasizing
      the RLE agreement that was discussed when developing the transition plan.
      Service member responsibilities

           ■■   Your RLE should be conducted in accordance with your approved
                transition plan. If this specific situation is not addressed, discuss
                this with your commander and the MMP to potentially modify
                the transition plan.

           ■■   Devise a communication plan with the commander to inform unit
                members of the transition to your preferred gender prior to attending
                unit events.

      Commander responsibilities

           ■■   Maintain good order and discipline.

           ■■   During transition planning, discuss and document expected conduct
                to include RLE and whether ETPs may be necessary.

           ■■   If approving the ETP, ensure the unit members are properly trained
                prior to the event. If granting an ETP is not practicable, discuss with
                the Service member and advise him not to attend such activities as a
                female until unit members are properly trained.

       Scenario 17: Off Duty

      A Service member has been undergoing transition for the last three months,
      from male to female, and has not yet changed his gender marker in the Service’s
      personnel database system. The unit is aware of his transition. He is preparing
      to begin his RLE after duty hours (i.e., wearing make-up, wigs, and female
      clothing) and would like to do so in his barracks room, unit day room, and
      on the military installation. He is still using the male facilities.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander, as well as standards of conduct. It also
      highlights existing tools available to resolve the situation, as well as emphasizing
      the RLE agreement that was discussed when developing transition plan.




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      Service member responsibilities

          ■■   Your RLE should be conducted in accordance with your approved
               transition plan. If this specific situation is not addressed, discuss
               this with your commander and the MMP to potentially modify the
               transition plan (i.e., request an ETP if necessary).

      Commander responsibilities

          ■■   During transition plan development, discuss and document expected
               conduct to include RLE.

          ■■   Consider ETPs if requested by Service member; ensure your unit is
               aware and properly trained prior to granting an ETP.

          ■■   Only at the Service member’s request, consider authorizing extended
               leave, transfer to IRR, ING, or Career Intermission Program/
               Temporary Separation in accordance with Service policy to allow the
               Service member to live in their preferred gender and conduct RLE.
               Care should be taken to not apply any undue pressure on the Service
               member to avail himself of these voluntary options.

          ■■   Consider notifying the installation commander that you have a
               transitioning Service member to mitigate any potential confusion
               at base access control points.

      Overseas

       Scenario 18: Liberty Call and Personal Safety

      The USS SHIP is about to pull into port for 3 days of liberty. The diverse crew,
      which includes a transgender Service member, has been working hard in the
      Arabian Gulf and is excited about a few days off. There is concern for Service
      member safety ashore due to wide spread anti-LGBT sentiment. Additionally,
      there are criminal penalties for violations of social norms.

      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander. Additionally, emphasis is placed on
      using available tools to evaluate assignments that may be potentially risky for the
      Service member.




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      Service member responsibilities

          ■■   You must always remember that the laws and what is considered
               socially normal in the host country may be vastly different than
               in the U.S.

          ■■   Pay attention to any travel warnings given at your command as a
               pre-arrival brief. You should also consult the Foreign Clearance
               Guide,46 Travel Precautions, and Information section for LGBT
               travel information for that country.

          ■■   You should ensure that when you visit the country that you are always
               accompanied by some of your shipmates and avoid areas that are listed
               as dangerous. Be cautious of potential risky situations and don’t do
               anything you would not do at home.

          ■■   You should avoid all physical displays of affection in public.

      Commander responsibilities

          ■■   While having a transgender Service member might be unique to your
               crew, the specific issues and concerns are analyzed similarly to any other
               safety issues that may be encountered by any member of your crew.

          ■■   Conduct a thorough analysis of the country you are visiting prior to
               arrival. At a minimum, you should review the U.S. State Department’s
               country specific website and DoD Foreign Clearance Guide.

          ■■   Tailor your pre-briefs to the crew on the accepted country norms and
               places to avoid. Ensure a robust buddy system for liberty is prescribed.
               Educate your non-commissioned officers about any concerns regarding
               the port.

       Scenario 19: Assignment Considerations

      A newly reported transgender female Service member arrives in the
      CENTCOM Area of Responsibility (AOR) to serve as an advise-and-assist
      mentor to women police officers. The country of assignment specifically
      requires female trainers for their female police officers.

      46 See Annex D.




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      Key takeaway(s)

      This scenario illustrates the importance of open lines of communication between
      the Service member and the commander, as well as the personnel assignment
      officer. Additionally, emphasis is placed on using available tools to evaluate
      assignments that may be potentially risky for the Service member.

      Service member responsibilities

           ■■   You must be mindful of challenges presented by beliefs and norms
                in the AOR and how they are different than the accepted norms in
                the U.S.

           ■■   You may need to adjust your expectations in the event that you are
                asked to shift to a different billet in support of the mission. It is
                important to maintain a flexible mentality when working with
                foreign nations to better meet the needs of the overall mission.

      Commander responsibilities

           ■■   This situation is unique in that close proximity with women and men in
                foreign countries may be more complicated than in the U.S.

           ■■   Some nations view transgender people as culturally unacceptable and
                will not recognize the individual’s preferred gender.

           ■■   Conduct a thorough analysis of the country prior to arrival. At a
                minimum, you should review the U.S. State Department’s country
                specific website and DoD Foreign Clearance Guide.

           ■■   You are encouraged to discuss this situation with your chain of
                command and the SCCC.

      Proceed with caution for the safety of the Service member and the possible
      attention local media interest would generate in assigning this individual to
      the billet. The individual may need to be reassigned.




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      Annex D:
      Additional Resources and Links

                            DoD Public and CAC-Enabled Websites

             Public DoD website, “Department of Defense Transgender Policy”:
                                http://www.defense.gov/transgender

                                  DoD CAC-enabled website:
                  https://ra.sp.pentagon.mil/DoDCCC/SitePages/HomePage.aspx


                                    Foreign Clearance Guide:
                                   https://www.fcg.pentagon.mil/


                                              Passport

       The Department of State has established procedures allowing a person to change
       the gender on their U.S. Passport. Significantly, an amended birth certificate is not
       required. Details on this process are contained in the attached information page, found
       at this link:
        http://travel.state.gov/content/passports/english/passports/information/gender.html


                       Service Boards for Correction of Military Records

                                             Air Force:
                  http://www.afpc.af.mil/board-for-correction-of-military-records

                                               Army:
                        http://arba.army.pentagon.mil/abcmr-overview.cfm

                                            Coast Guard:
                               http://www.uscg.mil/legal/BCMR.asp

                                      Navy and Marine Corps:
                      http://www.secnav.navy.mil/mra/bcnr/Pages/home.aspx




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                    Service Central Coordination Cells (SCCCs)
                                       Air Force:
             usaf.pentagon.saf-mr.mbx.af-central-coordination-cell@mail.mil

                                        Army:
                   usarmy.pentagon.hqda-dcs-g-1.mbx.sccc@mail.mil

                                    Coast Guard:
                                   SCCC@uscg.mil

                                    Marine Corps:
                               USMC.SCCC@usmc.mil

                                         Navy:
                                usn_navy_sccc@navy.mil




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